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                                                         - 453 -
                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                                                   STATE V. PORTER
                                                 Cite as 33 Neb. App. 453



                                        State of Nebraska, appellee, v.
                                          Mark J. Porter, appellant.
                                                     ___ N.W.3d ___

                                         Filed February 25, 2025.   No. A-24-028.

                 1. Criminal Law: Courts: Appeal and Error. In an appeal of a criminal
                    case from the county court, the district court acts as an intermediate
                    court of appeals, and its review is limited to an examination of the
                    record for error or abuse of discretion.
                 2. Courts: Appeal and Error. Both the district court and a higher appel-
                    late court generally review appeals from the county court for error
                    appearing on the record.
                 3. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, an appellate court’s inquiry is whether the deci-
                    sion conforms to the law, is supported by competent evidence, and is
                    neither arbitrary, capricious, nor unreasonable.
                 4. Appeal and Error. An appellate court independently reviews questions
                    of law in appeals from the county court.
                 5. Criminal Law: Courts: Appeal and Error. When deciding appeals
                    from criminal convictions in county court, an appellate court applies the
                    same standards of review that it applies to decide appeals from criminal
                    convictions in district court.
                 6. Constitutional Law: Search and Seizure: Appeal and Error. An
                    appellate court applies a two-part analysis when reviewing whether a
                    consent to search was voluntary. As to the historical facts or circum-
                    stances leading up to a consent to search, the appellate court reviews
                    the trial court’s findings for clear error. However, whether those facts
                    or circumstances constituted a voluntary consent to search, satisfying
                    the Fourth Amendment, is a question of law, which the appellate court
                    reviews independently of the trial court. And where the facts are largely
                    undisputed, the ultimate question is an issue of law.
                 7. Convictions: Evidence: Appeal and Error. In reviewing a criminal
                    conviction for a sufficiency of the evidence claim, whether the evidence
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           Nebraska Court of Appeals Advance Sheets
                33 Nebraska Appellate Reports
                              STATE V. PORTER
                            Cite as 33 Neb. App. 453
      is direct, circumstantial, or a combination thereof, the standard is the
      same: An appellate court does not resolve conflicts in the evidence, pass
      on the credibility of witnesses, or reweigh the evidence; such matters are
      for the finder of fact.
 8.   Constitutional Law: Motions to Suppress: Confessions: Miranda
      Rights: Appeal and Error. In reviewing a motion to suppress a state-
      ment based on its claimed involuntariness, including claims that law
      enforcement procured it by violating the safeguards established by the
      U.S. Supreme Court in Miranda v. Arizona, 384 U.S. 436, 86 S. Ct.
      1602, 16 L. Ed. 2d 694 (1966), an appellate court applies a two-part
      standard of review. Regarding historical facts, an appellate court reviews
      the trial court’s findings for clear error. Whether those facts meet con-
      stitutional standards, however, is a question of law, which an appellate
      court reviews independently of the trial court’s determination.
 9.   Motions to Suppress: Investigative Stops: Warrantless Searches:
      Probable Cause: Appeal and Error. In reviewing a trial court’s ruling
      on a motion to suppress based on the Fourth Amendment, an appellate
      court will uphold its findings of fact unless they are clearly erroneous.
      But an appellate court reviews de novo the trial court’s ultimate deter-
      minations of reasonable suspicion to conduct an investigatory stop and
      probable cause to perform a warrantless search.
10.   Constitutional Law: Search and Seizure. The Fourth Amendment to
      the U.S. Constitution and article I, § 7, of the Nebraska Constitution
      protect individuals against unreasonable searches and seizures by the
      government.
11.   Arrests: Search and Seizure: Probable Cause: Words and Phrases.
      An arrest is a highly intrusive detention (seizure) of a person that must
      be justified by probable cause.
12.   Warrantless Searches: Probable Cause: Police Officers and Sheriffs.
      Probable cause to support a warrantless arrest exists only if the officer
      has knowledge at the time of the arrest, based on information that is
      reasonably trustworthy under the circumstances, that would cause a
      reasonably cautious person to believe that a suspect has committed or is
      committing a crime.
13.   Probable Cause: Words and Phrases. Probable cause is a flexible,
      commonsense standard that depends on the totality of the circumstances.
14.   Probable Cause: Appeal and Error. An appellate court determines
      whether probable cause existed under an objective standard of reason-
      ableness, given the known facts and circumstances.
15.   Constitutional Law: Miranda Rights: Self-Incrimination. Miranda
      v. Arizona, 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d 694 (1966),
      prohibits the use of statements derived during custodial interrogation
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           Nebraska Court of Appeals Advance Sheets
                33 Nebraska Appellate Reports
                              STATE V. PORTER
                            Cite as 33 Neb. App. 453
      unless the prosecution demonstrates the use of procedural safeguards
      that are effective to secure the privilege against self-incrimination. The
      safeguards provided by Miranda come into play whenever a person
      in custody is subjected to either express questioning or its functional
      equivalent.
16.   Miranda Rights: Police Officers and Sheriffs: Words and Phrases.
      Under the Miranda rule, a “custodial interrogation” takes place when
      questioning is initiated by law enforcement after a person has been taken
      into custody or is otherwise deprived of his or her freedom of action in
      any significant way.
17.   Miranda Rights. The ultimate inquiry for determining whether a person
      is “in custody” for purposes of Miranda v. Arizona, 384 U.S. 436, 86 S.
      Ct. 1602, 16 L. Ed. 2d 694 (1966), is simply whether there is a formal
      arrest or restraint on freedom of movement of the degree associated with
      a formal arrest.
18.   Miranda Rights: Police Officers and Sheriffs: Words and Phrases.
      The term “interrogation” under Miranda refers not only to express ques-
      tioning, but also to any words or actions on the part of the police (other
      than those normally attendant to arrest and custody) that the police
      should know are reasonably likely to elicit an incriminating response
      from the suspect.
19.   Miranda Rights: Police Officers and Sheriffs. The circumstances that
      are most relevant to the custody inquiry include: (1) the location of the
      interrogation and whether it was a place where the defendant would
      normally feel free to leave; (2) whether the contact with the police was
      initiated by them or by the person interrogated, and, if by the police,
      whether the defendant voluntarily agreed to the interview; (3) whether
      the defendant was told he or she was free to terminate the interview and
      leave at any time; (4) whether there were restrictions on the defendant’s
      freedom of movement during the interrogation; (5) whether neutral
      parties were present at any time during the interrogation; (6) the dura-
      tion of the interrogation; (7) whether the police verbally dominated the
      questioning, were aggressive, were confrontational, were accusatory,
      threatened the defendant, or used other interrogation techniques to pres-
      sure the suspect; and (8) whether the police manifested to the defendant
      a belief that the defendant was culpable and that they had the evidence
      to prove it.
20.   Constitutional Law: Search and Seizure: Blood, Breath, and Urine
      Tests. The drawing of blood from a person’s body for the purpose of
      administering blood tests is a search of the person subject to Fourth
      Amendment constraints.
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          Nebraska Court of Appeals Advance Sheets
               33 Nebraska Appellate Reports
                             STATE V. PORTER
                           Cite as 33 Neb. App. 453
21. Constitutional Law: Search and Seizure: Warrantless Searches. Both
    the Fourth Amendment to the U.S. Constitution and article I, § 7, of the
    Nebraska Constitution guarantee against unreasonable searches and sei-
    zures. Searches without a valid warrant are per se unreasonable, subject
    only to a few specifically established and well-delineated exceptions.
22. Warrantless Searches. The warrantless search exceptions Nebraska has
    recognized include: (1) searches undertaken with consent, (2) searches
    under exigent circumstances, (3) inventory searches, (4) searches of
    evidence in plain view, and (5) searches incident to a valid arrest.
23. Warrantless Searches: Proof. It is the State’s burden to show that a
    search falls within an exception to the warrant requirement.
24. Constitutional Law: Search and Seizure: Duress. Generally, to be
    effective under the Fourth Amendment, consent to a search must be a
    free and unconstrained choice, and not the product of a will overborne.
25. Warrantless Searches: Duress. Consent for a warrantless search must
    be given voluntarily and not as a result of duress or coercion, whether
    express, implied, physical, or psychological.
26. Constitutional Law: Search and Seizure. The determination of whether
    the facts and circumstances constitute a voluntary consent to a search,
    satisfying the Fourth Amendment, is a question of law.
27. Search and Seizure. Whether consent to a search was voluntary is to be
    determined from the totality of the circumstances surrounding the giving
    of consent.
28. Police Officers and Sheriffs: Warrantless Searches. While there is
    no requirement that police must always inform citizens of their right to
    refuse when seeking permission to conduct a warrantless consent search,
    knowledge of the right to refuse is a factor to be considered in the vol-
    untariness analysis.
29. Constitutional Law: Blood, Breath, and Urine Tests. A court may not
    rely solely on the existence of an implied consent statute to conclude
    that consent to a blood test was given for Fourth Amendment purposes,
    and the determination of whether consent was voluntarily given requires
    a court to consider the totality of the circumstances.

   Appeal from the District Court for Hall County, Ryan C.
Carson, Judge, on appeal thereto from the County Court
for Hall County, Alfred E. Corey III, Judge. Judgment of
District Court affirmed.
   T. Charles James, of Langvardt, Valle &amp; James, P.C., L.L.O.,
for appellant.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
   Michael T. Hilgers, Attorney General, and Nathan A. Liss
for appellee.
  Riedmann, Chief Judge, and Moore and Welch, Judges.
  Welch, Judge.
                      I. INTRODUCTION
   Mark J. Porter appeals from the order of the Hall County
District Court affirming his county court convictions for aggra-
vated driving under the influence of alcohol (DUI) (blood
alcohol .15 or greater), a Class W Misdemeanor, and traveling
the wrong way on a one-way roadway, an infraction. Porter
asserts that the district court erred in affirming the county
court’s overruling of his motion to suppress and in finding that
the evidence was sufficient to support his convictions. For the
reasons stated herein, we affirm.
                  II. STATEMENT OF FACTS
                  1. Facts Leading to Arrest
   On October 22, 2021, at 12:40 a.m., law enforcement offi-
cers responded to a report of a personal injury motor vehicle
accident at Second and Oak Streets in Grand Island, Nebraska.
Second Street is a three-lane, one-way road permitting west-
bound traffic only. Multiple officers responded to assist with
traffic control and to contain the scene.
   When Officer Damian McAlevy arrived at the scene, he
observed a Ford Edge with heavy front-end damage and a
missing tire that appeared to be in the middle of the roadway,
a knocked over light pole near the Ford Edge, and a Nissan
sedan facing toward the northeast that had also sustained heavy
front-end damage. Officer McAlevy contacted the Nissan’s
driver and passenger. The Nissan’s driver informed Officer
McAlevy that “he was traveling westbound down Second
Street and the other vehicle was traveling towards him the
wrong way on a one-way.” The Nissan’s passenger provided
a similar account of the events. Another witness “claimed that
she saw one vehicle traveling eastbound on Second, the other
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
one traveling westbound” but the witness was unsure which
vehicle was traveling in the wrong direction.
   Officer McAlevy testified that he observed an individual,
whom he identified as Porter, standing next to the Ford Edge.
Porter indicated that he owned the Ford and that he was driv-
ing it at the time of the accident. Officer McAlevy observed
Porter to have bloodshot and watery eyes and slurred speech.
Officer McAlevy also noted that Porter was disoriented and
unfocused and that Porter’s responses were delayed.
   Porter was examined by medical personnel on scene. Medical
personnel did not express any concerns about Porter’s ability
to understand their questions or his competence to be able to
refuse medical treatment, nor did they observe any significant
injuries. After Porter refused medical care, Officer McAlevy
reinitiated contact with Porter, this time noting that there was
an “odor of alcohol coming from his person,” that Porter was
swaying, and that he was struggling to maintain his balance.
After Porter stated he was headed home, Officer McAlevy
asked Porter which way he was headed and Porter “point[ed]
to the south, southeast.” Officer McAlevy noted that although
Porter indicated that he was heading home, the location of
Porter’s residence was not located to the south or southeast as
indicated by Porter but was actually located on the west side
of town, which was inconsistent with the direction that Porter
indicated he was traveling.
   Based upon his observations, Officer McAlevy began a
15-minute observation period of Porter in preparation for
conducting a preliminary breath test (PBT). During the obser-
vation period, Officer McAlevy “maintain[ed a] visual” of
Porter while also getting the forms and PBT ready. During
the 15-minute period, Porter was in the company of either a
law enforcement officer or a paramedic/firefighter. During
the observation period, Porter made statements to Officer
McAlevy, including an admission that he was coming from a
bar and had two alcoholic drinks of “Crown and water” while
he was there. Based upon Porter’s statements, including his
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
admission of consuming alcohol, along with Officer McAlevy’s
observations of Porter, Officer McAlevy suspected that Porter
had been driving under the influence.
   After the 15-minute observation period had passed, Officer
McAlevy administered the PBT, which Porter failed with a
.216 result. Officer McAlevy arrested Porter for DUI and
read Porter the postarrest chemical test advisement form that
advised Porter he was under arrest, discussed the collection of
a chemical sample, and allowed Porter to consent to providing
a sample. Porter subsequently signed the form consenting to a
blood sample. He was placed in handcuffs and was transported
to a hospital where a blood sample was drawn. The sample
revealed that Porter’s blood alcohol content was .226.

                         2. Complaint
   In November 2021, the State filed a complaint in the Hall
County Court charging Porter with first offense aggravated
DUI in violation of Neb. Rev. Stat. § 60-6,196 (Reissue 2021)
and traveling the wrong way on a one-way roadway in viola-
tion of Neb. Rev. Stat. § 60-6,138 (Reissue 2021).

                    3. Motion to Suppress
   In February 2022, Porter filed a motion to suppress evi-
dence obtained by law enforcement alleging that the detention,
search, interrogation, and the arrest of his person, violated his
4th, 5th, and 14th Amendment rights. During the suppression
hearing, the State adduced testimony from Officer McAlevy,
as well as Officer Tyler Noel. Porter argued that law enforce-
ment did not have a reasonable suspicion to believe he was
under the influence when he was detained, that law enforce-
ment did not have probable cause to arrest him for DUI, that
law enforcement did not have probable cause to believe he
was driving under the influence of alcohol because the PBT
was not administered in compliance with 177 Neb. Admin.
Code ch. 1 (2016) (Title 177), that his Fifth Amendment rights
were violated when law enforcement elicited statements from
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
him prior to reading him his Miranda rights, that law enforce-
ment did not seek a warrant to arrest him under Neb. Rev.
Stat. § 29-404.02 (Cum. Supp. 2022), and that the warrantless
blood draw was illegally obtained.
   Following the hearing, the county court denied Porter’s
motion to suppress in its entirety. Specifically, the county court
found that law enforcement officers had reasonable grounds
to believe that Porter committed the offense of DUI and had
probable cause to arrest Porter for DUI; that law enforcement
did not violate Title 177 as it related to the 15-minute observa-
tion period in preparation for a PBT; that in light of the offi-
cer’s testimony, Porter’s allegations related to the calibration
of the PBT unit were meritless; that Miranda warnings were
not required during the 15-minute observation period during
which Porter made incriminating statements to law enforce-
ment; and that a warrant for the blood draw was not required
as a result of Porter’s consent on the postarrest chemical
advisement form.

                   4. Motion to Reconsider
   In August 2022, Porter filed a motion to reconsider the
county court’s order overruling his motion to suppress, claim-
ing that video footage from Officer McAlevy’s body camera
contradicted the officer’s testimony governing Porter’s condi-
tion and the events that transpired during the 15-minute obser-
vation period. Following a hearing, the county court overruled
the motion to reconsider, stating:
      The Court bases its decision on multiple factors. First,
      Officer McAlevy requested [another officer] to watch
      [Porter] during the fifteen-minute observation period
      while he was at his cruiser. Next, Officer McAlevy stated
      that other officers were on the scene and made observa-
      tions of [Porter]. Finally, Officer McAlevy said when he
      was outside the [Grand Island Fire Department] vehicle,
      he was able to see [Porter] through the windows for
      this brief period. Considering these factors, [Porter’s]
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
     Motion to Reconsider its Motion to Suppress is denied.
     The Court’s previous analysis in its original order is
     applicable to this Motion to Reconsider based on where
     Officer McAlevy and other officers were located during
     the fifteen-minute observation period of [Porter]. Law
     enforcement was in [Porter’s] presence for the entire
     fifteen-minute period based on the evidence received by
     the Court.

                    5. Trial and Sentencing
   During the March 2023 bench trial, witnesses included a
medical laboratory technician; Nicole Meier, a medical labora-
tory scientist; the Nissan’s passenger; the Nissan’s driver; and
Officer McAlevy. The evidence adduced was consistent with
the facts as laid out above. The county court found that the
State met its burden to prove Porter was operating a motor
vehicle with a blood concentration over 0.15, that Porter’s
blood test results complied with Title 177 and were admissible,
and that the State met its burden of proof beyond a reasonable
doubt as to both counts contained in the complaint.
   Thereafter, the county court sentenced Porter for aggravated
DUI (.15 or greater) to 9 months of probation with 2 days of
jail time, a $500 fine, and revocation of his license for a period
of 1 year. For his conviction for traveling the wrong way on a
one-way roadway, the county court fined Porter $100.

                6. Appeal to District Court
   Porter timely appealed his convictions and sentences to the
Hall County District Court. On appeal to the district court,
Porter’s statement of errors included numerous allegations.
The statement of errors that match the errors assigned in
this appeal are the county court erred in overruling Porter’s
motion to suppress by “relying upon an improperly adminis-
tered [PBT] that lacked adequate foundation, and which was
conducted without reasonable suspicion, and which failed
to establish probable cause to arrest [Porter] for the offense
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
charged herein”; “finding that law enforcement officers had
‘. . . the ability to proceed with a DUI investigation’”; “rely-
ing on insufficient evidence to show probable cause to arrest
[Porter] for [DUI]”; “finding that statements elicited from
[Porter] by law enforcement officers were admissible”; and
“finding that a warrant to obtain a sample of [Porter’s] blood
was not required.” The statement of errors separately alleged
that the county court erred in its “receipt of an evidentiary
blood test result at trial, finding that the foundational require-
ments for the admission of the blood test result to have been
satisfied,” and that the county court erred in “finding [Porter]
guilty beyond a reasonable doubt as to ‘. . . counts one and
two of the amended complaint’ in the absence of evidence suf-
ficient to support such finding.”
   At the appeal hearing, the district court took judicial notice
of the county court transcript and bill of exceptions and
received written arguments from the parties. Thereafter, the
district court affirmed the county court’s judgment and Porter’s
convictions and sentences.

               III. ASSIGNMENTS OF ERROR
   Porter assigns, restated, that the district court erred in (1)
affirming the county court’s denial of his motion to suppress
and (2) affirming the county court’s finding that the evidence
was sufficient to support his convictions.

                 IV. STANDARD OF REVIEW
   [1-5] In an appeal of a criminal case from the county court,
the district court acts as an intermediate court of appeals,
and its review is limited to an examination of the record for
error or abuse of discretion. State v. McGinn, 303 Neb. 224,
928 N.W.2d 391 (2019), modified on denial of rehearing 303
Neb. 931, 932 N.W.2d 83. Both the district court and a higher
appellate court generally review appeals from the county
court for error appearing on the record. Id. When reviewing
a judgment for errors appearing on the record, an appellate
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
court’s inquiry is whether the decision conforms to the law,
is supported by competent evidence, and is neither arbitrary,
capricious, nor unreasonable. Id. But we independently review
questions of law in appeals from the county court. Id. When
deciding appeals from criminal convictions in county court,
we apply the same standards of review that we apply to decide
appeals from criminal convictions in district court. Id.   [6] An appellate court applies a two-part analysis when
reviewing whether a consent to search was voluntary. State
v. Saitta, 306 Neb. 499, 945 N.W.2d 888 (2020). As to the
historical facts or circumstances leading up to a consent to
search, the appellate court reviews the trial court’s findings for
clear error. Id. However, whether those facts or circumstances
constituted a voluntary consent to search, satisfying the Fourth
Amendment, is a question of law, which the appellate court
reviews independently of the trial court. State v. Saitta, supra.And where the facts are largely undisputed, the ultimate ques-
tion is an issue of law. Id.   [7] In reviewing a criminal conviction for a sufficiency of
the evidence claim, whether the evidence is direct, circum-
stantial, or a combination thereof, the standard is the same: An
appellate court does not resolve conflicts in the evidence, pass
on the credibility of witnesses, or reweigh the evidence; such
matters are for the finder of fact. State v. McGinn, supra.
   [8] In reviewing a motion to suppress a statement based on
its claimed involuntariness, including claims that law enforce-
ment procured it by violating the safeguards established by the
U.S. Supreme Court in Miranda v. Arizona, 384 U.S. 436, 86
S. Ct. 1602, 16 L. Ed. 2d 694 (1966), an appellate court applies
a two-part standard of review. State v. Montoya, 304 Neb. 96,
933 N.W.2d 558 (2019). Regarding historical facts, an appel-
late court reviews the trial court’s findings for clear error. Id.Whether those facts meet constitutional standards, however, is
a question of law, which an appellate court reviews indepen-
dently of the trial court’s determination. Id.                               - 464 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
                          V. ANALYSIS
                     1. Motion to Suppress
   Porter first claims that the district court erred in affirming
the county court’s overruling of his motion to suppress. More
specifically, Porter argues that his motion to suppress should
have been granted because (a) no probable cause to arrest
him existed because the PBT was administered improperly;
(b) he was unlawfully arrested without a warrant in viola-
tion of § 29-404.02; (c) his statements to Officer McAlevy
were the product of a custodial investigation without Miranda
warnings so were unlawfully obtained in violation of the
Fifth Amendment; and (d) Porter’s warrantless blood draw
at the hospital was unlawfully obtained in violation of the
Fourth Amendment. We will address each of these arguments
independently.
   [9] In reviewing a trial court’s ruling on a motion to suppress
based on the Fourth Amendment, we will uphold its findings
of fact unless they are clearly erroneous. State v. McCave, 282
Neb. 500, 805 N.W.2d 290 (2011). But we review de novo the
trial court’s ultimate determinations of reasonable suspicion to
conduct an investigatory stop and probable cause to perform a
warrantless search. Id.                 (a) Administration of PBT and
                    Probable Cause to Arrest
   Porter argues that the district court erred in affirming the
county court’s denial of his motion to suppress because the
PBT was administered improperly in that Officer McAlevy
did not personally observe Porter for the full 15-minute obser-
vation period as required by Title 177 and the PBT device
used by Officer McAlevy was not shown to be the same
device calibrated by Officer Noel. He contends that, because
the PBT was not administered properly, no probable cause to
arrest him existed and the evidence obtained following that
arrest, including but not limited to Porter’s blood test, should
be suppressed on that basis.
                              - 465 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
   [10-14] The Fourth Amendment to the U.S. Constitution and
article I, § 7, of the Nebraska Constitution protect individuals
against unreasonable searches and seizures by the government.
State v. McCave, supra. An arrest is a highly intrusive deten-
tion (seizure) of a person that must be justified by probable
cause. Id. Probable cause to support a warrantless arrest exists
only if the officer has knowledge at the time of the arrest,
based on information that is reasonably trustworthy under the
circumstances, that would cause a reasonably cautious person
to believe that a suspect has committed or is committing a
crime. Id. Probable cause is a flexible, commonsense stan-
dard that depends on the totality of the circumstances. Id. We
determine whether probable cause existed under an objective
standard of reasonableness, given the known facts and circum-
stances. Id.
   Porter’s argument is premised on the theory that officers
needed the results of the PBT in order to establish probable
cause to arrest him. But in State v. Halligan, 222 Neb. 866,
868, 387 N.W.2d 698, 700 (1986), the Nebraska Supreme
Court addressed a similar factual pattern and held:
         We find that the sheriff had probable cause to believe
      that a misdemeanor had been committed based upon
      the following facts: defendant’s breath smelled of
      alcohol, his eyes were bloodshot, and his speech was
      slurred. We further find that the sheriff had probable
      cause to believe that a warrantless arrest was justified
      under § 29-404.02(2)(c) because evidence would be
      destroyed without immediate action. The body would
      metabolize the alcohol and the evidence would be lost.
      The arrest of defendant without a warrant was valid
      under § 29-404.02(2)(c). See Schmerber v. California,
      384 U.S. 757, 86 S. Ct. 1826, 16 L. Ed. 2d 908 (1966).
   And in State v. Huff, 282 Neb. 78, 106-07, 802 N.W.2d
77, 101 (2011), the Nebraska Supreme Court, in addressing
whether law enforcement had sufficient probable cause to
arrest a suspect for DUI, stated:
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
        To begin with, if an officer has probable cause to arrest
     a suspect for DUI and reasonable grounds to believe that
     the suspect committed DUI, the officer may arrest the
     suspect and require a blood test notwithstanding the fact
     that a [PBT] was not administered. And both reasonable
     grounds and probable cause were established in this case.
     [The defendant] was observed to have bloodshot, glassy
     eyes and difficulty standing. Nearly everyone who had
     contact with [the defendant] that night reported a strong
     odor of alcohol coming from him. We have little diffi-
     culty in concluding that despite the lack of field sobriety
     tests or a [PBT], there was ample evidence establishing
     probable cause to arrest [the defendant] and reasonable
     grounds to demand a blood test.
See, also, State v. Fischer, 194 Neb. 578, 234 N.W.2d 205(1975) (Nebraska Supreme Court found officer had probable
cause to make arrest after detecting odor of alcohol emanating
from vehicle’s driver following collision).
   Similarly, in the instant case, upon arriving at the scene
of the accident, after speaking with witnesses and having
contact with Porter, Officer McAlevy determined that Porter
had been traveling the wrong way on a one-way street when
Porter’s vehicle collided with another vehicle. During Officer
McAlevy’s initial contact with Porter, he observed that Porter
had bloodshot and watery eyes, seemed confused when speak-
ing, was disoriented, and was slurring his speech. After Porter
was checked by medical personnel on scene, Officer McAlevy
again contacted Porter, this time also observing that Porter
had the odor of alcohol emanating from his person, was
swaying, and was struggling to maintain his balance. After
reviewing the entirety of this record, even without considering
the results of the PBT or Porter’s admissions of consuming
alcohol, we find that probable cause existed to arrest Porter
for DUI.
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                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
                      (b) Warrantless Arrest
     Porter separately argues that pursuant to § 29-404.02,
police lacked the authority to arrest him without a warrant
because the alleged misdemeanor crime did not take place in
the officer’s presence.
   Section 29-404.02 provides, in pertinent part:
         (1) Except as provided in sections 28-311.11 and
      42-928, a peace officer may arrest a person without a
      warrant if the officer has reasonable cause to believe that
      such person has committed:
         ...
         (b) A misdemeanor, and the officer has reasonable
      cause to believe that such person either (i) will not be
      apprehended unless immediately arrested, (ii) may cause
      injury to himself or herself or others or damage to prop-
      erty unless immediately arrested, (iii) may destroy or con-
      ceal evidence of the commission of such misdemeanor,
      or (iv) has committed a misdemeanor in the presence of
      the officer[.]
   Porter acknowledges that although the Nebraska Supreme
Court has previously held that the risk of dissipation of alcohol
content in a person’s body provided a sufficient basis for a
warrantless arrest pursuant to § 29-404.02(1)(b)(iii), he argues
that that holding was called into question by the U.S. Supreme
Court’s holding in Missouri v. McNeely, 569 U.S. 141, 133
S. Ct. 1552, 185 L. Ed. 2d 696 (2013), and that the Nebraska
Supreme Court should revisit the issue. McNeely is factually
different in that the Court examined the issue of requiring a
warrant prior to drawing blood from an individual suspected
of DUI as opposed to a warrantless arrest of that person. But
whether McNeely has some bearing on Nebraska jurisprudence
is a matter we need not decide.
   Recently, in State v. Hoehn, 316 Neb. 634, 649, 6 N.W.3d
487, 497 (2024), the Nebraska Supreme Court clarified that
when applying the dictates of the U.S. Supreme Court’s
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                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
holding in Virginia v. Moore, 553 U.S. 164, 128 S. Ct. 1598,
170 L. Ed. 2d 559 (2008), stating:
      the U.S. Supreme Court clarified that whether a search
      is reasonable under the Fourth Amendment “has never
      depend[ed] on the law of the particular State in which
      the search occurs.” The Court accordingly held that
      where there was probable cause for the defendant’s arrest
      for driving with a suspended license, the trial court prop-
      erly denied the defendant’s motion to suppress evidence
      found in the search pursuant to that arrest, even though
      the arresting officer lacked authority to make the arrest
      because driving with a suspended license was not an
      arrestable offense under state law.
   Applying that rationale to the facts in Hoehn, which was
centered on an alleged violation of a Nebraska jurisdictional
statute that conferred no authority to arrest the defendant out-
side of the police officer’s jurisdictional territory, the Nebraska
Supreme Court held that
      regardless of [the officer’s] jurisdictional power and
      authority under § 29-215 to have conducted the stop and
      arrest of [the defendant], since there is no dispute that
      the stop was supported by reasonable suspicion and the
      arrest was supported by probable cause, the exclusionary
      rule applicable to violations of the Fourth Amendment
      and article I, § 7, of the Nebraska Constitution does not
      apply to the fruits of the stop. These constitutional pro-
      visions were the sole basis for [the defendant’s] objec-
      tion to the evidence at trial. Accordingly, the county
      court did not err in denying [the defendant’s] motion
      to suppress brought under the Fourth Amendment to
      the U.S. Constitution and article I, § 7, of the Nebraska
      Constitution.
State v. Hoehn, 316 Neb. at 656, 6 N.W.3d at 501.
   We make a similar finding here. Regardless of Porter’s claim
that the arresting officer lacked authority under § 29-404.02(1)
to arrest Porter without a warrant, having found that there
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                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
was probable cause for his arrest, we reject Hoehn’s claim
that the district court erred in denying his motion to suppress
evidence applying the exclusionary rule provided in the U.S.
and Nebraska Constitutions for an alleged violation of this
Nebraska statute.
               (c) Statements to Law Enforcement
   Porter next contends that his statements to law enforcement
should have been suppressed because he was not advised of
his rights under Miranda v. Arizona, 384 U.S. 436, 86 S. Ct.
1602, 16 L. Ed. 2d 694 (1966), prior to making those state-
ments. Specifically, he argues that during the 15-minute obser-
vation period prior to being administered the PBT, he was not
free to leave and gave incriminating statements in response to
Officer McAlevy’s questioning without being advised of his
Miranda rights.
   [15-19] In State v. Vaughn, 314 Neb. 167, 182-83, 989
N.W.2d 378, 393 (2023), the Nebraska Supreme Court
recently stated:
         Miranda prohibits the use of statements derived during
      custodial interrogation unless the prosecution demon-
      strates the use of procedural safeguards that are effec-
      tive to secure the privilege against self-incrimination.
      The safeguards provided by Miranda “‘“come into play
      whenever a person in custody is subjected to either
      express questioning or its functional equivalent.”’”
      Under the Miranda rule, a “custodial interrogation” takes
      place when questioning is initiated by law enforcement
      after a person has been taken into custody or is other-
      wise deprived of his or her freedom of action in any
      significant way. Both the U.S. Supreme Court and this
      court have emphasized that “the ultimate inquiry for
      determining whether a person is ‘in custody’ for pur-
      poses of Miranda ‘“is simply whether there is a formal
      arrest or restraint on freedom of movement of the degree
      associated with a formal arrest.”’” We view these two
      articulations as synonymous.
                              - 470 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
        The term “interrogation” under Miranda refers not
     only to express questioning, but also to any words or
     actions on the part of the police (other than those nor-
     mally attend­ant to arrest and custody) that the police
     should know are reasonably likely to elicit an incriminat-
     ing response from the suspect.
The court further stated:
     Notably, in Berkemer v. McCarty, [468 U.S. 420, 436,
     104 S. Ct. 3138, 82 L. Ed. 2d 317 (1984),] the [U.S.
     Supreme] Court acknowledged that “few motorists would
     feel free . . . to leave the scene of a traffic stop without
     being told they might do so.” Nonetheless, it rejected
     the suggestion that any roadside questioning of a person
     detained pursuant to a routine traffic stop constitutes
     custodial interrogation within the scope of Miranda. In
     so doing, the Court observed two features of traffic stops
     which mitigate the danger that the person questioned
     would be induced “‘to speak where he would not other-
     wise do so freely.’”
        First, detention pursuant to a traffic stop is “presump-
     tively temporary and brief.” Second, the circumstances
     of the typical traffic stop are not such that the person
     detained feels “completely at the mercy of the police”;
     the typical traffic stop is at least somewhat public, and
     the person detained typically confronts at most one or two
     officers. Accordingly, the Court reasoned that an ordinary
     traffic stop is “substantially less ‘police dominated’” than
     the kinds of interrogation at issue in Miranda.
        ....
        Previously, in State v. Rogers, [277 Neb. 37, 57, 760
     N.W.2d 35, 54 (2009),] we noted the “large body of
     case law . . . developed since Miranda” which has made
     apparent “certain circumstances that are most relevant
     to the custody inquiry.” Those circumstances include:
     (1) the location of the interrogation and whether it was
     a place where the defendant would normally feel free to
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                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
     leave; (2) whether the contact with the police was initi-
     ated by them or by the person interrogated, and, if by
     the police, whether the defendant voluntarily agreed to
     the interview; (3) whether the defendant was told he or
     she was free to terminate the interview and leave at any
     time; (4) whether there were restrictions on the defend­
     ant’s freedom of movement during the interrogation; (5)
     whether neutral parties were present at any time during
     the interrogation; (6) the duration of the interrogation;
     (7) whether the police verbally dominated the question-
     ing, were aggressive, were confrontational, were accusa-
     tory, threatened the defendant, or used other interroga-
     tion techniques to pressure the suspect; and (8) whether
     the police manifested to the defendant a belief that the
     defendant was culpable and that they had the evidence to
     prove it.
State v. Vaughn, 314 Neb. 167, 183-86, 989 N.W.2d 378,
393-95 (2023). Contra State v. Andersen, 213 Neb. 695, 331
N.W.2d 507 (1983) (prior to decision in Vaughn, officer
detaining defendant for PBT interrogated defendant whether
he had been drinking violated Miranda). But see, State v.
Casillas, 279 Neb. 820, 782 N.W.2d 882 (2010) (temporar-
ily detaining driver to submit to routine field sobriety tests
does not ordinarily rise to level of custody so as to implicate
Miranda); State v. Bowers, 250 Neb. 151, 548 N.W.2d 725(1996) (driver not in custody for purposes of Miranda at
time of his verbal responses to field sobriety tests in officer’s
police cruiser).
   Applying the Vaughn factors here, the record establishes
that Officer McAlevy and Porter’s interactions occurred on
a public street; that Officer McAlevy initiated contact with
Porter in the course of investigating an automobile accident;
and that, during their interactions, Officer McAlevy never
told Porter that he was free to leave. And although Officer
McAlevy testified that Porter was not free to leave during the
observation period, that fact is not determinative. See, State
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
v. Vermuele, 234 Neb. 973, 453 N.W.2d 441 (1990) (validity
of arrest is based upon objective existence of probable cause,
not officer’s subjective belief or knowledge); State v. Brown,
13 Neb. App. 359, 693 N.W.2d 559 (2005) (fact that officer
testified that defendant was not free to leave not determina-
tive of whether defendant is in custody). The evidence fur-
ther established that Porter was not handcuffed or otherwise
restrained during the observation period and that Officer
McAlevy was not aggressive or confrontational during the
exchange and did not articulate that he believed Porter was
guilty and had the evidence to prove it. The evidence further
established that there were no restrictions on Porter’s freedom
of movement and that neutral parties (others involved in the
accident) were present.
   On this record, we find that the district court did not err
in affirming the county court’s determination that Porter was
not in custody at the point during the 15-minute observation
period during which Porter made representations concerning
the number of alcoholic drinks he had consumed.

             (d) Results of Warrantless Blood Draw
   Porter finally argues that the results of the warrantless
blood draw should have been suppressed because his consent
was not voluntary.
   [20-23] It has long been recognized that the drawing of
blood from a person’s body for the purpose of administer-
ing blood tests is a search of the person subject to Fourth
Amendment constraints. State v. Miller, 312 Neb. 17, 978
N.W.2d 19 (2022). Both the Fourth Amendment to the U.S.
Constitution and article I, § 7, of the Nebraska Constitution
guarantee against unreasonable searches and seizures. State
v. Miller, supra. Searches without a valid warrant are per se
unreasonable, subject only to a few specifically established and
well-delineated exceptions. Id. The warrantless search excep-
tions Nebraska has recognized include: (1) searches under-
taken with consent, (2) searches under exigent circumstances,
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                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
(3) inventory searches, (4) searches of evidence in plain view,
and (5) searches incident to a valid arrest. Id. It is the State’s
burden to show that a search falls within an exception to the
warrant requirement. Id.   Here, the State relies on the consent exception to justify the
reasonableness of the warrantless blood draw. Porter argues
that, although he checked a box on a consent form which
purported to acknowledge his consent to a blood draw, his
consent was not obtained voluntarily because the postarrest
chemical advisement form did not satisfactorily advise him of
his constitutional right to refuse to submit and the form did
not include any language indicating he understood he had a
right to refuse and was giving up that right freely and volun-
tarily. Porter further argues that there were “‘inherent contra-
dictions’” between the postarrest chemical advisement form
read to him and the language contained in Nebraska’s implied
consent statutes. Brief for appellant at 42.
   [24-28] Generally, to be effective under the Fourth
Amendment, consent to a search must be a free and uncon-
strained choice, and not the product of a will overborne. State
v. Degarmo, 305 Neb. 680, 942 N.W.2d 217 (2020). Consent
for a warrantless search must be given voluntarily and not
as a result of duress or coercion, whether express, implied,
physical, or psychological. Id. The determination of whether
the facts and circumstances constitute a voluntary consent to
a search, satisfying the Fourth Amendment, is a question of
law. Id. Whether consent to a search was voluntary is to be
determined from the totality of the circumstances surround-
ing the giving of consent. Id. While there is no requirement
that police must always inform citizens of their right to refuse
when seeking permission to conduct a warrantless consent
search, knowledge of the right to refuse is a factor to be con-
sidered in the voluntariness analysis. Id.   The postarrest chemical advisement form signed by Porter
provided:
                              - 474 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
         You are under arrest for operating or being in actual
      physical control of a motor vehicle while under the influ-
      ence of alcoholic liquor or drugs.
         . . . Pursuant to law, I am asking you to submit to a
      chemical test or tests of your BLOOD to determine the
      concentration of alcohol in your body. You do not have
      to submit to such test or tests, but if you refuse, we may
      seek a warrant requiring such test or tests.
   Under the advisement was a space to initial either “I consent
a test of my blood” or “I refuse to submit to test of my blood.”
Porter initialed next to the consent line and signed his name at
the bottom.
   Additionally, the implied consent statute, Neb. Rev. Stat.
§ 60-6,197 (Reissue 2021), provides:
         (1) Any person who operates or has in his or her
      actual physical control a motor vehicle in this state shall
      be deemed to have given his or her consent to submit
      to a chemical test or tests of his or her blood, breath, or
      urine for the purpose of determining the concentration of
      alcohol or the presence of drugs in such blood, breath,
      or urine.
         ....
         (4) Any person involved in a motor vehicle accident
      in this state may be required to submit to a chemical test
      or tests of his or her blood, breath, or urine by any peace
      officer if the officer has reasonable grounds to believe
      that the person was driving or was in actual physical
      control of a motor vehicle on a public highway in this
      state while under the influence of alcoholic liquor or
      drugs at the time of the accident.
   [29] And, in State v. Modlin, 291 Neb. 660, 867 N.W.2d 609(2015), the Nebraska Supreme Court stated that the implied
consent statute is just one circumstance to be considered in the
totality of the circumstances in determining if the consent to a
blood test was voluntary. The court stated:
                              - 475 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
         At this juncture, it is important to distinguish between
      “implied consent” and “actual consent.” The Court of
      Appeals of Wisconsin stated: “‘Implied consent’ is not
      an intuitive or plainly descriptive term with respect to
      how the implied consent law works. [It may be] a source
      of confusion. [T]he term ‘implied consent’ [may be]
      used inappropriately to refer to the consent a driver gives
      to a blood draw at the time a law enforcement officer
      requires that driver to decide whether to give consent.
      However, actual consent to a blood draw is not ‘implied
      consent’ . . . .” State v. Padley, 354 Wis. 2d 545, 564,
      849 N.W.2d 867, 876 (Wis. App. 2014). In connection
      with actual consent, the Padley court continued: “[T]he
      implied consent law is explicitly designed to allow the
      driver, and not the police officer, to make the choice as
      to whether the driver will give or decline to give actual
      consent to a blood draw when put to the choice between
      consent or automatic sanctions [for refusal].” 354 Wis.
      2d at 571, 849 N.W.2d at 879 (emphasis in original).
      That is, ordinarily, the point at which the driver chooses
      not to refuse is the point in time at which the driver
      actually consents to a blood draw. And the Supreme
      Court of Georgia in Williams v. State[, 296 Ga. 817,
      771 S.E.2d 373 (2015)], noted that the determination of
      actual consent to the procuring and testing of a driver’s
      blood requires the determination of the voluntariness of
      the consent under the totality of the circumstances. . . .
      See, also, People v. Harris, 234 Cal. App. 4th 671, 184
      Cal. Rptr. 3d 198 (2015); State v. Brooks, 838 N.W.2d
      563 (Minn. 2013).
State v. Modlin, 291 Neb. at 672, 867 N.W.2d at 618.
   In viewing the totality of the circumstances, including that
Porter had given his implied consent under § 60-6,197 and
that he affirmed that consent after he initialed and signed the
chemical test advisement form which provided the conse-
quences if Porter refused to consent, we conclude, as did both
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             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
the county and the district courts, that Porter was aware of his
rights and voluntarily consented to the blood draw.
                  2. Sufficiency of Evidence
   Porter’s final assignment of error is that the district court
erred in affirming his convictions because the evidence was
insufficient to support a finding of guilt beyond a reason-
able doubt.
                   (a) Traveling Wrong Way on
                        One-Way Roadway
   Regarding Porter’s conviction for traveling the wrong way
on a one-way roadway, § 60-6,138 provides, in pertinent part:
         (1) The Department of Transportation and local author-
      ities with respect to highways under their respective
      jurisdictions may designate any highway, roadway, part
      of a roadway, or specific lanes upon which vehicular traf-
      fic shall proceed in one direction at all times or at such
      times as shall be indicated by traffic control devices.
         (2) Except for emergency vehicles, no vehicle shall be
      operated, backed, pushed, or otherwise caused to move in
      a direction which is opposite to the direction designated
      by competent authority on any deceleration lane, accel-
      eration lane, access ramp, shoulder, or roadway.
   Here, the evidence at trial established that Officer McAlevy
responded to a report of a motor vehicle accident occurring
on a one-way street. After speaking with witnesses, Officer
McAlevy determined that Porter had been traveling the wrong
way on a one-way street when he collided with the other
driver. This evidence is sufficient to support Porter’s convic-
tion of traveling the wrong way on a one-way roadway.
                            (b) DUI
   Porter also contends that there was insufficient evidence to
support his conviction of DUI under of § 60-6,196. Contained
within this assignment of error, Porter contends that his blood
draw results should not have been admitted, because the State
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
failed to adduce sufficient foundational testimony to establish
that the hospital which drew and tested his blood had policies
and procedures that conformed with the relevant regulations
under Title 177.
               (i) Foundational Requirements for
                 Admission of Blood Test Results
   Porter acknowledges that the “‘relevant regulations’” gov-
erning the proper policy and procedures for testing blood are
set forth in Title 177, but he contends that the State failed to
establish that the hospital’s policies and procedures for test-
ing Porter’s blood complied with Title 177 or that Meier was
familiar with Title 177 as amended in 2016. As it relates to
those regulations, he argues that foundation for admission of
his blood test results was lacking because the State failed to
offer evidence concerning the hospital laboratory’s compli-
ance with §§ 006.05 and 006.06 of Title 177. Specifically,
he contends that the State failed to adduce evidence (1) that
the quality control sample result was greater than “+/- three
standard deviations” in order for the test results to be reported
as required by § 006.05B2; (2) that the hospital complied
with the requirement that “[o]n or before July 1 of each even-
numbered year, Class A permit holders must submit his/her
reports of standard deviation data for the previous 24 month
period to the Department” as required by § 006.05C; (3) that
the hospital conformed with ongoing performance evaluation
studies as required by § 006.05D; (4) that the hospital com-
plied with maintaining record requirements, including, but not
limited to, quality control results and related data as required
by § 006.05E. He separately argues that the State failed to
demonstrate compliance with “Inspection, Maintenance, and
Repair of Laboratory Instruments for Class A Methods” as set
forth in § 006.06.
   In Nebraska, chemical blood tests are governed by Neb.
Rev. Stat. § 60-6,201 (Reissue 2021), which provides in rel-
evant part:
                         - 478 -
   Nebraska Court of Appeals Advance Sheets
        33 Nebraska Appellate Reports
                   STATE V. PORTER
                 Cite as 33 Neb. App. 453
   (1) Any test made under section 60-6,197, if made in
conformity with the requirements of this section, shall
be competent evidence in any prosecution under a state
statute or city or village ordinance involving operating
a motor vehicle while under the influence of alcoholic
liquor or drugs or involving driving or being in actual
physical control of a motor vehicle when the concen-
tration of alcohol in the blood or breath is in excess of
allowable levels.
   ....
   (3) To be considered valid, tests of blood, breath, or
urine made under section 60-6,197 or tests of blood or
breath made under section 60-6,211.02 shall be performed
according to methods approved by the Department of
Health and Human Services and by an individual pos-
sessing a valid permit issued by such department for such
purpose, except that a physician, registered nurse, or other
trained person employed by a licensed health care facility
or health care service which is defined in the Health Care
Facility Licensure Act or clinical laboratory certified pur-
suant to the federal Clinical Laboratories Improvement
Act of 1967, as such act existed on September 1, 2001,
or Title XVIII or XIX of the federal Social Security Act,
as such act existed on September 1, 2001, to withdraw
human blood for scientific or medical purposes, acting at
the request of a peace officer, may withdraw blood for the
purpose of a test to determine the alcohol concentration
or the presence of drugs and no permit from the depart-
ment shall be required for such person to withdraw blood
pursuant to such an order. The department may approve
satisfactory techniques or methods to perform such tests
and may ascertain the qualifications and competence of
individuals to perform such tests and issue permits which
shall be subject to termination or revocation at the discre-
tion of the department.
                              - 479 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
   In State v. Alkazahy, 314 Neb. 406, 412-13, 990 N.W.2d
740, 745 (2023), the Nebraska Supreme Court recently stated:
         To be considered valid, tests of blood, breath, or urine
      made under Neb. Rev. Stat. § 60-6,197 (Reissue 2021)
      or tests of blood or breath made under Neb. Rev. Stat.
      § 60-6,211.02 (Reissue 2021) shall be performed accord-
      ing to methods approved by DHHS. [See § 60-6,201(3).]
      DHHS may approve satisfactory techniques or methods
      to perform such tests. The parties agree that chapter 1
      of title 177 hosts the governing DHHS regulations in
      this case.
         Under title 177, a method is defined as “the name
      of the principle of analysis” and “may be a laboratory
      method.” A laboratory method is a chemical analysis
      using laboratory procedures and instrumentation. The
      failure to perform a test using the prescribed methods
      makes the test result inadmissible. A technique is defined
      as a “set of written instructions which describe the pro-
      cedure, equipment, and equipment prevent[at]ive main-
      tenance necessary to obtain an accurate alcohol content
      test result.” Any deficiencies in techniques used to test
      the breath or blood alcohol level in DUI cases generally
      are of no foundational consequence, but only affect the
      weight and credibility of the testimony.
   According to Title 177, a method is “the name of the prin-
ciple of analysis. The method may be a laboratory method.”
§ 001.16. A laboratory method is defined under Title 177 as “a
chemical analysis using laboratory procedures and instrumenta-
tion.” § 001.14.
   In order to be valid, Porter’s blood test was required to
be performed with methods approved by the Department of
Health and Human Services (DHHS). Title 177 lays out the
approved methods for Class A permit holders and lists the
approved method on the Class A Permit. Accordingly, admis-
sibility of Porter’s blood test at trial required the State to
present evidence that Porter’s blood test was performed with
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             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
methods approved by DHHS. We find that the State complied
with this requirement. During the trial, Meier testified she
had been a medical laboratory scientist since 2006 and held
a Class A permit for the State of Nebraska for testing blood
samples. Her Class A permit, which was received into evi-
dence, provided that Meier’s approved method of testing was
gas chromatography, which is an authorized method specifi-
cally listed in Title 177 for Class A permit holders. Meier fur-
ther testified that the hospital in Grand Island where Porter’s
blood test was administered is licensed and regulated by the
“Clinical Laboratory Improvement Amendment,” a third-party
organization that reviews laboratory testing, as well as hos-
pital operations, and that the hospital is licensed to operate
and function as a laboratory in Nebraska. This testimony was
sufficient to establish foundation that Porter’s blood test was
performed pursuant to the gas chromatography method, which
is approved by DHHS under Title 177. Notwithstanding this
testimony, Porter argues that Meier failed to provide testi-
mony regarding the hospital’s compliance with the regulatory
requirements of portions of §§ 006.5 and 006.6 of Title 177
and that those sections’ dictates should be likewise considered
“methods” and required foundational testimony of compliance
to render the blood test results inadmissible. We disagree.
   First, we disagree that Meier failed to provide testimony
regarding procedure, technique, or the required expertise asso-
ciated with the testing of Porter’s blood. In that regard, Meier
testified that she has been a medical laboratory scientist since
2006; that she has a Class A permit for testing blood samples;
that the hospital where Porter’s blood was tested is properly
licensed and regulated; that the hospital has policies and pro-
cedures for performing legal blood testing that were authored
by Meier and that have been renewed since implemented; and
that she conducted the testing herself, using the gas chroma-
tography analyzer which she is authorized to operate using her
Class A permit and which is an approved instrument under
Title 177. Further, Meier testified to the process for using
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             33 Nebraska Appellate Reports
                         STATE V. PORTER
                       Cite as 33 Neb. App. 453
the gas chromatography method and that she followed the
proper process in testing Porter’s blood. Although Meier did
not provide testimony as to the more specific requirements
of §§ 006.5 and 006.6 of Title 177 as argued by Porter, we
find that, on this record, Meier provided sufficient founda-
tion for the method utilized to test Porter’s blood and that the
specific regulations cited by Porter, which he argues required
more specific foundational testimony fall under the category
described by the Nebraska Supreme Court as “of no founda-
tional consequence, but only affect the weight and credibility
of the testimony.” State v. Prescott, 280 Neb. 96, 106, 784
N.W.2d 873, 883 (2010). If Porter believed that Meier failed to
comply with the regulatory requirements set forth in §§ 006.05
and 006.06 of Title 177, he could have further pursued sepa-
rate questions of this nature on cross-examination. But as it
relates to Porter’s specific assignment of error, we find that
the district court did not err in admitting the results of Porter’s
blood tests into evidence over Porter’s foundational objection
to its admission.
   Having determined that the results from Porter’s blood test
were properly admitted, we next address whether the evidence
was sufficient to support Porter’s conviction for DUI.
               (ii) Sufficiency of Evidence—DUI
  Section 60-6,196 provides:
       (1) It shall be unlawful for any person to operate or be
    in the actual physical control of any motor vehicle:
       (a) While under the influence of alcoholic liquor or of
    any drug;
       (b) When such person has a concentration of eight-
    hundredths of one gram or more by weight of alcohol per
    one hundred milliliters of his or her blood; or
       (c) When such person has a concentration of eight-
    hundredths of one gram or more by weight of alcohol per
    two hundred ten liters of his or her breath.
       (2) Any person who operates or is in the actual physi-
    cal control of any motor vehicle while in a condition
                              - 482 -
        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. PORTER
                      Cite as 33 Neb. App. 453
      described in subsection (1) of this section shall be guilty
      of a crime and upon conviction punished as provided in
      sections 60-6,197.02 to 60-6,197.08.
   Here, Officer McAlevy was investigating a two-vehicle
accident in which Porter admitted to being one of the driv-
ers. During the investigation, he observed that Porter had
bloodshot and watery eyes, he appeared disoriented and con-
fused, and his speech was slurred. After Porter was released
from medical personnel on scene, Officer McAlevy reiniti-
ated contact with Porter, this time observing that he had the
odor of alcohol emanating from his person, he was swaying,
and he was having trouble maintaining his balance. Based
upon these factors, Officer McAlevy decided to administer
a PBT to Porter. When Officer McAlevy began a required
15-minute observation period in preparation for conducting a
PBT, Officer McAlevy asked Porter if he had consumed any
alcohol and Porter admitted to having two alcoholic drinks
of “Crown and water.” After administering the PBT, Officer
McAlevy determined that Porter had failed the PBT with a
.216 result. Officer McAlevy arrested Porter and transported
him to the hospital where Porter consented to a blood draw,
the results of which we have determined were properly admit-
ted into evidence. The blood draw results showed that Porter’s
blood alcohol content was .226 grams per 100 milliliters of
his blood. Based upon this record, the evidence was sufficient
to support Porter’s conviction for DUI. This assignment of
error fails.
                     VI. CONCLUSION
  For the reasons stated above, we affirm Porter’s convictions
and sentences.
                                                  Affirmed.
